                         UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION



DEVIEST PATTON                          ]
     Plaintiff,                         ]
                                        ]
v.                                      ]            No. 3:13-1346
                                        ]            Judge Campbell
CCA/MDCDF, et al.                       ]
     Defendants.                        ]



                                  O R D E R


      The Court has before it a pro se prisoner complaint (Docket

Entry Nos.1 and 7) under 42 U.S.C. § 1983, and an application to

proceed in forma pauperis (Docket Entry No.2).

      It appears from the application that the plaintiff lacks

sufficient financial resources from which to pay the fee required

to file the complaint. Accordingly, plaintiff’s application to

proceed in forma pauperis is GRANTED. 28 U.S.C. § 1915(a).

      The plaintiff is herewith ASSESSED the civil filing fee of

$350.00. Pursuant to 28 U.S.C. § 1915(b)(1)(A) and (B), the

custodian     of   the    plaintiff's       inmate    trust   account   at    the

institution where he now resides is directed to submit to the Clerk

of Court, as an initial partial payment, whichever is greater of:

      (a) twenty percent (20%) of the average monthly deposits to

the plaintiff's inmate trust account; or

                                        1



     Case 3:13-cv-01346 Document 10 Filed 01/13/14 Page 1 of 3 PageID #: 30
     (b) twenty percent (20%) of the average monthly balance in the

plaintiff's inmate trust account for the prior six (6) months.

     Thereafter, the custodian shall submit twenty percent (20%) of

the plaintiff's preceding monthly income (or income credited to the

plaintiff's trust account for the preceding month), but only when

such monthly income exceeds ten dollars ($10.00), until the full

filing fee of three hundred fifty dollars ($350.00) as authorized

under 28 U.S.C. § 1914(a) has been paid to the Clerk of Court. 28

U.S.C. § 1915(b)(2).

     In accordance with the Memorandum contemporaneously entered,

the complaint fails to state a claim upon which relief can be

granted. Consequently, this action is hereby DISMISSED. 28 U.S.C.

§ 1915(e)(2).

     An appeal of the judgment rendered herein would not be taken

in good faith. Coppedge v. United States, 369 U.S. 438, 445-446

(1962). Therefore, the plaintiff is NOT certified to pursue an

appeal of this judgment in forma pauperis. 28 U.S.C. § 1915(a)(3).

     Nevertheless, should the plaintiff decide to file a notice of

appeal, he must either pay the Clerk of Court the full appellate

filing fee of five hundred five dollars ($505.00) or submit a new

application to proceed in forma pauperis with a certified copy of

his inmate trust account statement for the previous six month

period. 28 U.S.C. § 1915(a)(1); McGore v. Wrigglesworth, 114 F.3d

601 (6th Cir. 1997).

                                     2



   Case 3:13-cv-01346 Document 10 Filed 01/13/14 Page 2 of 3 PageID #: 31
     The Clerk is directed to send a copy of this order to the

Warden of the Metro Davidson County Detention Facility to ensure

that the custodian of plaintiff's inmate trust account complies

with that portion of the Prison Litigation Reform Act relating to

the payment of the filing fee.

     Entry of this order shall constitute the judgment in this

action.

     It is so ORDERED.




                                         ____________________________
                                         Todd Campbell
                                         United States District Judge




                                     3



   Case 3:13-cv-01346 Document 10 Filed 01/13/14 Page 3 of 3 PageID #: 32
